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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-00555 (RCL)
                                             :
PAMELA ANNE HEMPHILL,                        :
                                             :
                       Defendant.            :


           GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
                      TO LOCAL CRIMINAL RULE 49


        The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following videos that were provided to the Court and defense

counsel on May 11, 2022, via USAfx, relating to the sentencing hearing scheduled for May 18,

2022.   As video clips, they are not in a format that readily permits electronic filing on CM/ECF.

        Due to the length of some videos, and the fact that the sentencing hearing is scheduled to

be conducted via video conference, the government recommends that the Court and counsel review

them prior to the hearing so that the government may incorporate them by reference at the hearing.

Should the Court or counsel so request, however, the government will endeavor to show the videos

at the hearing, though the video conference technology may impede the flow of presentation.

        The videos are as follows:

        1. Government Exhibit 3 is a video approximately 20 minutes 10 seconds in length filmed

           by the defendant that portrays the East side of the U.S. Capitol Building on January 6,

           2021.




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2. Government Exhibit 4 is a video approximately 19 minutes 42 seconds in length filmed

   by the defendant that portrays rioters breaking through the barriers around the East

   Plaza of the U.S. Capitol Building and proceeding up the stairs to the East Rotunda

   door.

3. Government Exhibit 5 is a video approximately 2 minutes 48 seconds in length filmed

   by the defendant that depicts rioters on the steps of the U.S. Capitol Building outside

   the East Rotunda door.

4. Government Exhibit 6 is a video approximately 22 minutes 50 seconds in length filmed

   by the defendant that depicts the defendant and other rioters entering the U.S. Capitol

   through the East Rotunda doors.

5. Government Exhibit 10 is a video approximately 37 minutes 11 seconds in length

   filmed by the defendant that depicts the defendant and other rioters standing outside

   the East Rotunda doors of the U.S. Capitol.

6. Government Exhibit 11 is a video approximately 15 minutes 20 seconds in length

   filmed by the defendant that depicts the defendant and other rioters at the Idaho

   Statehouse pushing through police barricading the entrance to the gallery and breaking

   glass in the door on or about August 24, 2020.




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       If the Court accepts these proposed video exhibits into evidence, the United States does not

object to releasing these exhibits to the public.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:     __/s/ Katherine Nielsen
                                               KATHERINE NIELSEN
                                               Trial Attorney, Detailee
                                               United States Attorney’s Office
                                               District of Columbia
                                               D.C. Bar No. 491879
                                               555 4th Street, N.W.
                                               Washington, D.C. 20530
                                               (202) 355-5736
                                               Katherine.Nielsen@usdoj.gov




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                                CERTIFICATE OF SERVICE

       On this 11th day of May, 2022, a copy of the foregoing was served on counsel of

record for the defendant via the Court’s Electronic Filing System.


                                                        /s/Katherine Nielsen
                                              Katherine Nielsen
                                              Trial Attorney, Detailee




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